April 9, 2018                                                                         Jonathan E. Paikin
                                                                                          +1 202 663 6703 (t)
Via Electronic Filing                                                                     +1 202 663 6363 (f)
                                                                             jonathan.paikin@wilmerhale.com
The Honorable Robert D. Mariani
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Building & U.S. Courthouse
235 North Washington Avenue
Scranton, PA 18503
                   Re:     CFPB v. Navient Corp. et al., No. 3:CV-17-00101 (M.D. Pa)
Dear Judge Mariani:
       Pursuant to the Court’s March 5 order, Defendants respectfully submit the following
response to the CFPB’s February 27 letter. By way of background, Defendants repeatedly
requested a meeting with the CFPB to discuss these issues. The CFPB agreed to meet on
February 23, but then cancelled. The CFPB’s characterizations of Defendants’ positions are
inaccurate and misleading, as set forth below.
I.        Defendants Did Not Apply The Substantive Limitations Set Forth In The February
          27 Letter And Accompanying Chart (CFPB Issue #1, at pages 1–3).
         Before this lawsuit was filed, the CFPB already had in its possession hundreds of
thousands of pages of documents, testimony from several witnesses, and multiple written
responses as a result of its investigation. In May and June of 2017, the CFPB served 48
document requests (although with subparts the requests exceeded 80). Counsel engaged in hours
of calls with the custodians responsible for relevant subject areas, who were asked to review the
requests and identify the locations of potentially responsive documents. Defendants collected
more than 6 million potentially responsive documents and hired 35 full-time contract attorneys to
assist in the review. After search terms were run against the material collected, Defendants hand
reviewed more than 650,000 documents. To date, Defendants have produced close to 1.5 million
pages. Defendants have substantially completed production of the documents they agreed to
produce in response to the first set of requests.
        Other than the specific objections discussed in Sections II–IV of this letter, Defendants
placed none of the limitations on the searches or review protocols that they are accused of on
pages 1–3 of the CFPB’s letter and in Appendix A. For example, Defendants are not excluding
the following:
          •    Responsive documents concerning the ineffectiveness of policies as opposed to the
               effectiveness of policies in response to Request 5. 1




1
    See CFPB Appendix at p. 2–3.
April 9, 2018
Page 2


           •   Responsive documents in which only forbearance or only IDR is discussed as
               opposed to documents comparing forbearance and IDR in response to Request 7. 2
           •   Responsive documents, including emails, that discuss the proper reporting code to
               use for borrowers with total and permanent disabilities whose loans have been
               discharged (i.e., not the AL code) in response to Request 23.
Defendants also did not use the word “analyses” or “evaluations” or “policies and procedures” as
terms of art to exclude documents. 3 Indeed, it is difficult to conceive of how instructions could
be given to contract reviewers to tag an “analysis” but not an “evaluation” as responsive.
Moreover, many of the documents that the CFPB imagines were withheld have been in their
possession for months and, in some cases, years.

        The CFPB asserts that Defendants “failed to provide assurances that Defendants would
conduct a reasonable search for the documents excluded by their formal responses.” But, on
November 10 and 13, the parties spoke by phone for over four hours during which Defendants
described in detail the steps taken to respond to every document request that had been
propounded. Two more calls were held on November 27 and 28 that cumulatively lasted over
another three hours. Altogether, Defendants spent over seven hours explaining in detail their
search process for each request, and providing assurances that they did not apply the substantive
exclusions that they are now accused of making. Defendants did not hear anything further from
the CFPB for 51 days, until January 18, 2017, when the CFPB raised the same issues as if the
earlier discussions had not happened.
        The CFPB says it “must treat the responses as limiting the scope of the search and
production” because Defendants “refused” to confirm in writing “that they never imposed
substantive limitations on their responses.” But on February 5, Defendants wrote: “Specifically,
you have asked us to confirm whether the use of certain words operates as a substantive
limitation on Defendant’s responses. They do not.” On February 8, the CFPB acknowledged as
much: “Thank you for informing us that your use of certain words in your responses to the
[CFPB’s] document requests does not operate as a substantive limitation on Defendants’
responses and that you have made no categorical exclusions.” The CFPB nevertheless raised the
same issues again, and Defendants provided further written assurance on February 15: “As best
we can ascertain, you seem to be concerned that there are instances where searches were
conducted that resulted in an output of documents, and then reviewers excluded responsive
documents by applying criteria narrower than your requests. We did not do that.” As noted
above, Defendants requested a meeting to discuss whatever concerns persisted, but the CFPB
cancelled the meeting.


2
    Appendix at 4–5.
3
    Relevant to Requests 5, 7, 13, 15, and 16 to Navient Solutions. See CFPB Appendix.
April 9, 2018
Page 3


       Put simply, there is no merit to the CFPB’s contention that Defendants imposed
“substantive limitation[s]” on their production and no basis to compel additional discovery.
II.     A Hand Review Of A Million-Plus Emails Concerning Policies, Etc. That Are Not At
        Issue Is Unreasonable (CFPB Issue #2, at pages 3–5).
        As part of the November discussions, Defendants resisted the CFPB’s unreasonable
demand that Defendants review internal emails related to nearly any policy, any notice, any
training that was ever in place over a nine-year period without regard to whether the policy,
notice, or training document was the basis for any of the CFPB’s claims. When Defendants
applied search terms designed to capture the set of materials requested, the result was over a
million emails. Defendants explained that reviewing this volume was prohibitively expensive,
especially considering their limited relevance. Defendants agreed to provide their search reports,
and the CFPB promised that it would promptly review and propose modifications to narrow the
scope. Defendants provided the reports on December 6. The CFPB waited two months, until
February 8, to propose modifications. The CFPB’s proposal did not narrow the focus to the
policies, notices, or trainings actually at issue, and still required manual review of over a million
emails. Again, Defendants requested a meeting, but the CFPB refused.

         Defendants sought to negotiate search terms tailored to the policies and notices identified
by the CFPB during discovery as being at issue. On August 4, 2017, Defendants conducted a
30(b)(6) deposition of the CFPB during which the CFPB produced a binder of 85 documents that
were identified as the policies, procedures, trainings, and other evidentiary support for the
allegations in the Complaint. 4 In response to subsequent document requests seeking additional
policies, etc., at issue, the CFPB responded: “[T]he Bureau objects to this request on the ground
that it has already produced documents responsive to this request at the Rule 30(b)(6) deposition
that occurred on August 4, 2017.” The CFPB has never identified policies, procedures, trainings,
or disclosures beyond those in the binder as being at issue in this lawsuit.

        Because the CFPB would not meet and confer, Defendants proceeded on their own to
craft search terms tailored to the policies and procedures identified as being at issue. Defendants
have since been hand reviewing over 100,000 emails that resulted from application of those
terms. Although the CFPB identifies fifteen requests that are at issue, many overlap such that
there are a total of seven categories in dispute. The first five are discussed in the CFPB’s letter at
pages 3–4. The last two appear only in the Appendix at pages 9–11, but are addressed here for
completeness.




4
 The binder was the result of diligent efforts. The CFPB stated that “its attorneys … spent hundreds of hours
preparing for the deposition.” Plaintiffs’ Motion For Enlargement of Time, at 12 (Dkt. No. 81).
April 9, 2018
Page 4


         (1)   Emails relating to “policies, procedures, and guidance to employees relating
to communications with borrowers about repayment options.” 5 Defendants produced tens of
thousands of pages of policies, procedures, flow charts, scripts, call agent guidance, notices, and
training materials. The CFPB also received borrower complaints about repayment options,
summaries of how those complaints were addressed and resolved, and internal and external
audits and reviews of communications about repayment options, including audits by the U.S.
Department of Education. The CFPB has identified two flowcharts relating to communications
with borrowers about repayment options as being at issue. Nevertheless, the CFPB demands
hand review of approximately 480,000 emails and attachments related to every policy on the
books. 6 Defendants crafted search terms related to the policies identified by the CFPB as being
at issue, which resulted in a universe of 61,048 potentially responsive documents that are being
reviewed. Non-privileged, responsive documents in this tranche will be produced. There is no
basis to compel additional discovery relating to policies that are not at issue.
        (2)     Emails relating to “auditing, monitoring, and quality assurance relating to
communications with borrowers about repayment options.” 7 As noted, Defendants produced
internal and external audits, including audits by the Department of Education, quality assurance
reviews, and call monitoring reviews evaluating individual call agents on specific calls. The
CFPB demands that Defendants hand review 95,000 additional emails because some may note
“an instruction that caused employees to provide no or incomplete information about IDR plans.”
But the CFPB has the instructions and the audits, and the actions taken in response will show the
results of those instructions. In any event, as noted, Defendants are reviewing the emails and
attachments related to the policies at issue, which would capture for those policies “an
instruction that caused employees to provide no or incomplete information about IDR plans.”
There is no basis to compel any additional discovery.
        (3)      Emails relating to the “suitability, unsuitability, appropriateness,
inappropriateness, advantages, disadvantages, benefits or costs of forbearance or any type
of IDR plan for particular groups of borrowers.” 8 The Education Department determines the
suitability of forbearance, deferment, and the various repayment options offered by the federal
government for particular borrowers. For this reason, there are few documents where anyone at
Navient Solutions discussed the “suitability, unsuitability, appropriateness, inappropriateness,
advantages, disadvantages, benefits or costs of forbearance or any type of IDR plan for particular
groups of borrowers.” Defendants cannot create documents that do not exist, and what has been
found after diligent searches has already been produced. Specifically, Defendants produced

5
  Requests 3, 4, and 5 to Navient Solutions.
6
  The volume of this demand alone is larger than the entire universe of 478,000 actually-relevant documents that the
CFPB has been reviewing. The CFPB complains that its review is “labor-intensive” and will require 2,000 days of
attorney time, not counting the privilege review. See Plaintiffs’ Mot. For Enlargement of Time, at 11 (Dkt. No. 81).
7
  Request 6 to Navient Solutions.
8
  Request 7 to Navient Solutions.
April 9, 2018
Page 5


thousands of contract documents and emails exchanged with the Department of Education,
which will show the Department’s directives on these issues. And Defendants are producing the
policies and procedures implementing those directives. Aside from these documents, Navient
Solutions did not generate documents specific to this request because it was not its role to do so.
To the extent there is a one-off discussion of the suitability or appropriateness of repayment
options in emails, they will be found in the search described above. Again, there is no basis to
compel any additional discovery.
        (4)      Emails relating to “communications with borrowers about renewal of IDR
plans, including emails discussing any deficiencies or problems with those policies,
procedures, or guidance.” 9 Defendants produced more than 450 different types of notices
regarding repayment options, including notices sent to borrowers regarding IDR renewal.
Defendants also produced evaluations of those notices and emails, data regarding IDR renewal
rates, and documents exchanged with the Education Department regarding IDR renewal.
Although the CFPB identified one letter and one email notice as being at issue, it demands
manual review of approximately 275,000 emails and attachments, almost all of which are
unrelated to the letter and notice at issue. Defendants crafted search terms tailored to the email
and letter at issue, which resulted in 27,265 potentially responsive documents – the review of
which will be complete this week. The CFPB has no reasonable basis to demand any additional
review or production.
         (5)    Emails relating to “the terms of Navient Corp.’s contract with the
Department of Education and Defendants’ performance under that contract with respect
to issues relevant to the [CFPB’s] claims or their defenses.” 10 Defendants produced
thousands of contract documents and change requests; regular reports provided to the Education
Department, such as call center metrics and IDR application rates; audits by the Department;
borrower complaints received from the Education Department; and tens of thousands of emails
exchanged with the Department. The CFPB’s statement that Defendants refuse to review and
produce emails relating to “the terms of Navient’ Corp.’s contract with the Education
Department and Defendants’ performance under that contract” is not true. Defendants already
hand reviewed over 100,000 emails and attachments exchanged with the Education Department
relating to Defendants’ performance under the contract and produced 50,000 responsive emails.
Defendants also expanded their search to emails between custodians responsible for analyzing
revenues and costs under the contract. The dispute is limited to whether Defendants should also
hand review an additional 90,000 internal emails. The CFPB argues these emails are “extrinsic
evidence” relating to the parties’ interpretation of the contract. But the CFPB has yet to identify
a contract term that it believes is ambiguous, and this is not a breach of contract action. In any
event, the parties’ understanding of the contract requirements are contained in the thousands of

9
    Requests 13, 14, 15, 16, and 17 to Navient Solutions.
10
    Requests 1 and 2 to Navient Corporation.
April 9, 2018
Page 6


emails between the Department of Education and Defendants that have been produced. The
burden of reviewing these additional emails is unjustified.
        (6)     Emails relating to errors or problems in the processing, application, and
allocation of borrower payments, the categorization of borrower inquiries related to such
errors, and actions taken to address those inquiries. 11 In the CFPB’s supplemental response
to Navient Solutions’ Interrogatory Number 15, the CFPB averred that it is challenging Navient
Solutions’ policies for the categorization and escalation of payment processing errors.
Defendants agreed to produce policies, procedures, and guidance related to these issues. The
CFPB demands that Defendants also review approximately 63,000 emails, many of which have
nothing to do with the policies identified. Defendants crafted search terms related to the policies
at issue and are reviewing the results.

        (7)    Emails relating to Navient Solutions’ requirement that borrowers make a
certain number of “consecutive, on-time principal and interest payments” to be eligible for
cosigner release, and related communications to borrowers. 12 The CFPB challenges
statements made about the number of payments required for a cosigner to be eligible for release
as guarantor on a loan. Defendants produced communications with borrowers about eligibility
requirements for cosigner release and internal policies about how the requirements apply.
During the investigation, Defendants also provided written responses and testimony regarding
these requirements, which the CFPB cited in its 30(b)(6) deposition. As with the other issues
above, Defendants crafted terms related to the requirements at issue and have reviewed the
results. Responsive documents will be produced.

III.       The CFPB’s Demand For Drafts Of Notices Is The Same As Its Demand For Emails
           In Section II(4) Above (CFPB Issue # 3, at page 5).
       In response to Request 13 to Navient Solutions, Defendants produced all versions of
responsive notices maintained in the files where notices are ordinarily kept. Drafts are not
maintained in the repository, so to the extent drafts exist they would be found only as
attachments to emails. Defendants produced emails with the Department of Education, which
would include drafts proposed by or shared with the Department. The dispute is over whether
Defendants should conduct a search of internal emails for additional drafts. As discussed,
Defendants crafted search terms designed to return emails related to the notices identified as
being at issue, and to the extent drafts of those notices exist as attachments to internal emails,
they will be contained in that review.




11
     Request 18 to Navient Solutions.
12
     Requests 19 and 21 to Navient Solutions.
